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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

IN RE:                                               )
John A. Nawara                                       )       Bankruptcy No. 10 B 02331
                                                     )       Chapter 13
                                                     )
                               Debtor(s)             )       Judge Jack B. Schmetterer
                                                     )

To:    See Attached List

                                     NOTICE OF MOTION

PLEASE TAKE NOTICE that on March 6, 2013, at the hour of 9:30 A.M., or as soon thereafter
as counsel may be heard, I shall appear before the honorable Jack B. Schmetterer in Courtroom 682
of the United States Bankruptcy Court, 219 S. Dearborn St., Chicago, Illinois, or any other judge
sitting in his place and stead, and shall then and there present the attached Motion to Reopen Case,
a copy of which is hereby served upon you. You may appear if you so choose.

                                              David P. Lloyd, Ltd.
                                              615B S. LaGrange Rd.
                                              LaGrange IL 60525
                                              708-937-1264
                                              Fax: 708-937-1265

                                 CERTIFICATE OF SERVICE

         I, David P. Lloyd, an attorney, certify that I caused a copy of the foregoing Notice and
Motion to be served on the parties listed on the attached service list by electronic notice where
indicated, and by first class mail by depositing with the United States Postal Service, Orland Park,
Illinois, postage prepaid, prior to 5:00 P.M., this 27th day of February, 2013.


                                              ______/s/ David P. Lloyd________________
                                                    David P. Lloyd
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Notice List
John A. Nawara
10 B 02331

U.S. Trustee
USTPRegion11.ES.ECF@usdoj.gov

Tom Vaughn, Trustee
chiweb@tvch13.net

Robert J. Semrad & Assoc.
20 S. Clark St.
28th Floor
Chicago IL 60603
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                                                           )
IN RE:                                                     )
John A. Nawara                                             )        Bankruptcy No. 10 B 02331
                                                           )        Chapter 13
                                                           )
                                  Debtor(s)                )        Judge Jack B. Schmetterer

                             DEBTOR’S MOTION TO REOPEN CASE

        NOW COMES the Debtor, John A. Nawara, by and through his attorney, David P. Lloyd,

and moves this honorable Court to reopen this case pursuant to Section 350(b) of the Bankruptcy

Code, and in support thereof states as follows:

        1. The Debtor commenced this case by filing a voluntary Chapter 13 petition on January 22,

2010.

        2. At the time of the filing of this case, the Debtor was a plaintiff in a law suit pending in the

United States District Court for the Northern District of Illinois, No. 08 CV 6621, entitled Burruss et

al. v. Dart et al. The suit was filed by a number of correctional offices with the Cook County

Sheriff’s Office against the Cook County Sheriff and other officials with the Cook County Sheriff’s

office, alleging retaliation based on the plaintiffs’ political affiliation.

        3. At the time of the filing of this bankruptcy case, the Debtor anticipated that the relief he

would likely obtain in the suit was reinstatement with the Cook County Sheriff and did not expect to

obtain any financial recovery.

        4. Prior to the filing of this bankruptcy case, the Debtor consulted with bankruptcy counsel

regarding his schedules, but did not realize that the suit against the Cook County Sheriff must be

disclosed in his schedules, and therefore the suit was not scheduled.

        5. The Debtor attended the meeting of creditors on February 16, 2010. At that meeting, the
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Trustee’s representative asked the Debtor specifically if he was suing anyone, and the Debtor

correctly replied that he was suing his work for discrimination.

       6. The Debtor filed a 100% plan on January 22, 2010. Therefore, the absence of the claim on

the Debtor’s schedules did not affect the amount to be paid to creditors in the plan.

       7. On February 3, 2010, at the Debtor’s request, the Court entered a payroll control order.

       8. On April 14, 2010, notwithstanding the payroll control order directed to the Debtor’s

employer, the Court dismissed this case for non-payment to the Trustee. The case was closed on July

16, 2010.

       9. The Debtor needs this case reopened so that he can file an amended Schedule B, listing the

law suit as an asset, and amended Schedule C, claiming the law suit exempt.

       10. Although the Debtor now believes that some financial recovery is possible in the law suit

against the Cook County Sheriff, the Debtor believes that the majority of any recovery is exempt as

wages under Illinois law.

       WHEREFORE the Debtor, John A. Nawara, prays that this case be reopened for the purpose

of filing amended Schedules B and C, and for such other and further relief as this honorable Court

may deem meet.


                                                       Respectfully submitted,
                                                       John A. Nawara

                                                       By:___/s/ David P. Lloyd_____________
                                                              His attorney



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